Case: 2:18-cv-00628-MHW-CMV Doc #: 27 Filed: 08/29/18 Page: 1 of 3 PAGEID #: 272




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION AT COLUMBUS

 Jade Thompson,                              :
                                             :
                      Plaintiff,             :
                                             :       Case No. 2:18-cv-628
       v.                                    :
                                             :       JUDGE MICHAEL H. WATSON
 Marietta Education Association, et al.,     :
                                             :       Magistrate Judge Chelsey M. Vascura
                      Defendants.            :


              MEMORANDUM OF MARIETTA CITY SCHOOL DISTRICT
               BOARD OF EDUCATION IN RESPONSE TO PLAINTIFF’S
                  MOTION FOR A PRELIMINARY INJUNCTION


       Now comes Defendant Marietta City School District Board of Education (the “Board”),

in response to the Motion for a Preliminary Injunction of Plaintiff Jade Thompson (“Plaintiff”),

filed July 23, 2018 (Doc 15). In response, the Board takes no position as to whether Plaintiff’s

First Amendment rights are being violated or whether the Board should be enjoined from

recognizing the Marietta Education Association (the “Union”) as the exclusive representative.

The Board will respectfully honor the decision of the Court in this regard.

       With that said, the Board is currently required to recognize the Union as the deemed-

certified, exclusive representative of the teachers employed by the Board pursuant to O.R.C.

Sections 4117.04 and 4117.05. Contrary to Plaintiff’s assertion in its Memorandum of Points

and Authorities In Support of Motion for a Preliminary Injunction (Doc 15-1), the Board has

not “appointed” the Union as the exclusive representative. Ohio Revised Code section 4117.04

indicates that “[p]ublic employers shall extend to an exclusive representative designated under

Section 4117.05 of the Revised Code, the right to represent exclusively the employees in the
Case: 2:18-cv-00628-MHW-CMV Doc #: 27 Filed: 08/29/18 Page: 2 of 3 PAGEID #: 273




appropriate bargaining unit and the right to unchallenged and exclusive representation***.”

O.R.C. 4117.04(A), emphasis added. In addition, Ohio law requires that “[a] public employer

shall bargain collectively with an exclusive representative designated under Section 4117.05 of

the Revised Code ***.” O.R.C. 4117.04(B), emphasis added. Ohio Revised Code Section

4117.05 sets forth the procedures for an employee organization to become the exclusive

representative, and states:

       An employee organization becomes the exclusive representative of all the public
       employees in an appropriate unit for the purposes of collective bargaining***.

There is no dispute that the Union is currently the exclusive representative of teachers

employed by the Board, under Ohio law. However, the Board’s recognition of the Union is

mandatory under state law, not discretionary; and the Board does not appoint the

representative.



                                            Respectfully submitted,


                                            /s/ Nicole M. Donovsky
                                            Diana S. Brown (0067151), Trial Attorney
                                            Nicole M. Donovsky (0072262)
                                            BRICKER & ECKLER LLP
                                            100 S. 3rd Street
                                            Columbus, Ohio 43215
                                            Telephone: 614-227-2300
                                            Facsimile: 614-227-2390
                                            Email: dbrown@bricker.com
                                            Email: ndonovsky@bricker.com
                                            Attorneys for Defendant Marietta City
                                            School District Board of Education




                                               2
Case: 2:18-cv-00628-MHW-CMV Doc #: 27 Filed: 08/29/18 Page: 3 of 3 PAGEID #: 274




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 29th day of August 2018, the foregoing
Memorandum in Response was served upon the following via the Court’s electronic filing
system and electronic transmission to:

Patrick T. Lewis, Esq.
BAKER & HOSTETLER LLP
Key Tower
127 Public Square, Suite 2000
Cleveland, OH 44114

Andrew M. Grossman, Esq.
Mark W. DeLaquil, Esq.
Richard B. Raile, Esq.
BAKER & HOSTETLER LLP
1050 Connecticut Ave., N.W.
Washington, DC 20036

Robert D. Alt, Esq.
Daniel J. Dew, Esq.
THE BUCKEYE INSTITUTE
88 East Broad Street, Suite 1120
Columbus, OH 43215

Eben O. McNair, IV, Esq.
Timothy Gallagher, Esq.
SCHWARZWALD MCNAIR & FUSCO LLP
1215 Superior Ave., Suite 225
Cleveland, OH 44114-3257

Patrick Casey Pitts
Scott Alan Kronland
ALTSHULER BERZON LLP
117 Post Street, Suite 300
San Francisco, CA 94108

Phillip Hostak
NATIONAL EDUCATION ASSOCIATION
1201 16TH St., NW
Washington, DC 20036


                                          /s/ Nicole M. Donovsky
                                          Nicole M. Donovsky (0072262)
                                          BRICKER & ECKLER LLP


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